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1                                                     Judge Martinez
2

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6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
7                                        AT SEATTLE
8    UNITED STATES OF AMERICA,        )
                                      )               NO.    CR01-108RSM
9                     Plaintiff,      )
                                      )               ORDER MODIFYING TERMS
10              v.                    )               OF SUPERVISED RELEASE
                                      )
11   ELIZABETH ANNE PHILLIPS,         )
                                      )
12                    Defendant.      )
     _________________________________)
13

14           On December 10, 2003, the defendant was sentenced to a term of imprisonment for
15   twenty-four months based upon her conviction for one count of wire fraud, in violation of Title
16   18, United States Code, Section 1343 and one count of conspiracy, in violation of
17   Title 18, United States Code, Section 371. The defendant was also placed on three years of
18   supervised release. At the time of sentencing, the Government was not able to identify the
19   amount of restitution that was owed to the many victims. As a result, the Judgment provided
20   that as a condition of supervised release the defendant “shall pay restitution in an amount to be
21   determined at a subsequent hearing.” Title 18, United States Code, Section 3664 require that the
22   Court make a final determination of the victims’ losses within 90 days after sentencing. At the
23   sentencing hearing on December 10, 2003, defendant’s prior counsel agree to waive this 90-day
24   requirement.
25           The defendant now claims that she was not aware that her counsel had waived the 90-day
26   requirement. Defendant’s prior counsel also claims that he waived the 90-day period without
27   consulting with the defendant. As a result, the Government has concluded that it would be
28   unable to prove that the defendant knowingly and intelligently waived the 90-day requirement.
     ORDER MODIFYING TERMS OF
     SUPERVISED RELEASE - 1
                                                                              UNITED STATES 700 Stewart Street, Suite 5220
     (CR01-108RSM)
                                                                                    Seattle, Washington 98101-1271
                                                                                             (206) 553-7970
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1    Thus, the Government has filed a motion requesting that this Court eliminate the restitution
2    condition from the judgement. The defendant does not oppose this motion.
3            IT IS THEREFORE ORDERED that the terms of supervised release previously imposed
4    are hereby modified, as follows:
5            (a) The condition requiring the defendant to pay restitution is stricken from the judgment.
6            IT IS FURTHER ORDERED that all other terms and conditions of supervised release as
7    previously imposed shall remain in effect; and
8            IT IS FURTHER ORDERED that the Clerk of the Court deliver certified copies of this
9    Order Modifying Terms of Supervised Release to the United States Marshal or other qualified
10   officer, the United States Probation Office, and counsel of record.
11           DATED this 10th day of October, 2007.
12

13

14
                                                       A
                                                       RICARDO S. MARTINEZ
                                                       UNITED STATES DISTRICT JUDGE
15
     Presented by:
16

17
     s/Carl Blackstone
18   CARL BLACKSTONE
     Assistant United States Attorney
19

20   s/Andrew Friedman
     ANDREW FRIEDMAN
21   Assistant United States Attorney
22   Approved as to form:
23

24   s/Bruce D. Erickson
     BRUCE D. ERICKSON
25   Counsel for Elizabeth Anne Phillips
26

27

28

     ORDER MODIFYING TERMS OF
     SUPERVISED RELEASE - 2
                                                                              UNITED STATES 700 Stewart Street, Suite 5220
     (CR01-108RSM)
                                                                                    Seattle, Washington 98101-1271
                                                                                             (206) 553-7970
